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                                                     THE HONORABLE JOHN C. COUGHENOUR
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                                 UNITED STATES DISTRICT COURT
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                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9   UNITED STATES OF AMERICA,                              CASE NO. CR20-0155-JCC
10                              Plaintiff,                  ORDER
11          v.

12   BENJAMIN SHERWOOD,

13                              Defendant.
14

15          This matter comes before the Court on the parties’ stipulated motion to continue trial and
16   the pretrial motions deadline (Dkt. No. 36). Having thoroughly reviewed the motion and the
17   relevant record, the Court GRANTS the motion for the reasons described below.
18          Trial in this matter is currently set for November 29, 2021; pretrial motions were due
19   October 18, 2021. (Dkt. No. 30.) Defendant seeks a continuance of the trial date, citing the
20   substantial amount of discovery in the case and the need for time to make strategic decisions once
21   the Court rules on Defendant’s pending motion for a bill of particulars (Dkt. No. 31) in order to
22   adequately prepare for trial (Dkt. No. 36 at 2). Defendant indicates that the Government does not
23   oppose his request for continuance and that he is “prepared to file a speedy trial waiver
24   encompassing any trial date the Court sets.” (Id. at 3.) Based on the foregoing, the Court FINDS
25   as follows:
26          1.       The ends of justice served by granting the requested continuance outweigh the


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 1   best interests of Defendant and the public to a speedier trial. See 18 U.S.C. § 3161(h)(7)(A).

 2           2.      Taking into account the exercise of due diligence, the failure to grant the
 3   continuance would deny defense counsel the reasonable time necessary for effective preparation,
 4   see 18 U.S.C. § 3161(h)(7)(B)(iv), and would likely result in a miscarriage of justice, see 18
 5   U.S.C. § 3161(h)(7)(B)(i).
 6           3.      The ends of justice will be served by ordering a continuance in this case, as a
 7   continuance is necessary to ensure adequate time for the defense to review discovery and
 8   effectively prepare for trial.
 9          IT IS THEREFORE ORDERED that the trial date shall be continued to March 14, 2022,
10   and that the pretrial motions deadline is reset to February 11, 2022.
11          IT IS FURTHER ORDERED that the resulting period of delay from the filing of the
12   motion to continue to the new trial date is hereby excluded for speedy trial purposes under 18
13   U.S.C. § 3161(h)(7)(A) and (h)(7)(B)(i), (iv).
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15           DATED this 19th day of October 2021.




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                                                          John C. Coughenour
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                                                          UNITED STATES DISTRICT JUDGE
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